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                         iN TILE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                           JUL 2 2 2024
                                  SAN ANTONIO DIVISION
                                                                              CLERK, U S. DISTRICT COURT
                                                                              WESTERN 015
                                                                              BY          1,   (    /
                                                                                               RI OF TEXAS
                                                                                                    DEPUTY
MARK ANTHONY ORTEGA
                                                     Case No. 5          OO769-XR
                             Plaintiff,

                V.                                   PLAINTIFF'S             AMENDED
                                                     COMPLAINT
CARLO S HERRERA AND FUNDCUBE INC.
D/BIA FUNDQUBE,                                      DEMAND FOR               TRIAL


                             Defendants.


                                    NATURE OF THE CASE

       1.        This action seeks to remedy the unlawful and intrusive telemarketing practices of

Defendants, FundCube Inc. DIB/A FundQube ( "FundQube") and Carlos Herrera ("Herrera" and

collectively, "Defendants") , who have violated the Telephone Consumer Protection Act, 47 U. S.C.

§ 227, et seq. ("TCPA"), and the Texas Business and Commercial Code, Chapter 302 ("Tex. Bus.

& Com. Code"), by initiating unwanted telemarketing calls to Plaintiff Mark Anthony Ortega

('Plaintiff' or "Ortega") without his consent and in disregard of his status on the National Do Not

Call Registry, causing him frustration, annoyance, and a sense of privacy invasion.

                                BACKGROUND ON THE TCPA

       2.        Enacted in 1991 with bipartisan support, the TCPA aims to protect consumers from

the nuisance and invasion of privacy caused by unsolicite                          calls, reflecting

Congress's recognition of such calls as a "scourge of modem                        137 Cong. Rec.

30821 (1991).
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         3.    Decades later, the TCPA remains a crucial safeguard                the ever-increasing

volume of unwanted calls, which consistently rank among the top                      complaints. See

Omnibus TPA Order 30 FCC Rcd 7961, 7964 (FCc. July 10, 2015

         4.    The private right of action provided by the TCPA is essential to curbing these

violations.

                                 JURISDICTION AND VENUE

         5.    This Court has subject matter jurisdiction over the          asserted herein pursuant

to 28 U.S.C. § 1331, which grants this court original jurisdiction of all civil actions arising under

the laws of the United States.      S.   Mims v. Arrow Fin. Servs., IiC, 565 US. 368 (2012)

(confirming that 28 U.S.C. § 1331 grants the United States district courts federal-question subject-

matter jurisdiction to hear private civil suits under the TCPA). As tljiis action involves alleged

violations of the TCPA, a federal question is presented, thus confering jurisdiction upon this

Court.

         6.    Additionally, this Court has supplemental jurisdiction o'er the claims arising under

Tex. Bus. & Com. Code § 302. While the Texas Business and Commercial Code, Chapter 302, is

a state law, it complements and supplements the federal TCPA by providing additional protections

to Texas residents against unwanted telemarketing calls. Under 28 U.S.C. § 1367, federal courts

may exercise supplemental jurisdiction over state law claims that are so related to claims within

the court's original jurisdiction that they form part of the same case or controversy.

         7.    In this instance, the claims under the Tex. Bus. & Corn. code § 302, are intertwined

with the TCPA claims, as they both arise from the same set of facts involving the Defendants'

alleged telemarketing calls to Plaintiff. The legal issues and factual quetions involved in both sets

of claims are closely related, and it would be efficient and convenient fcir the Court to address them
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together in a single proceeding. Therefore, the Court's supplemental           iction is appropriate to

encompass the claims arising under Tex. Bus. & Corn. Code § 302.

       8.      This Court has personal jurisdiction over Defendants ¶s they conducted business

within this district and purposefully availed themselves of the privilege of conducting activities

within the State of Texas.

       9.      Venue is proper in this judicial district pursuant to 2 U.S.C. § 1391(b)(2) as a

substantial part of the events giving rise to this action occurred within his district.

                                              PARTIES

        10.    Plaintiff Mark Anthony Ortega is a natural person wlo resided in San Antonio,

Bexar County, Texas at all times relevant hereto.

        11.    Plaintiff is a "person" as that term is defined by 47 U.S4C. § 153(39).

        12.    Defendant FundCube Inc. D/B/A FundQube is a California Corporation with is

principal place of business in San Diego, California.

        13.    Defendant FundQube is a "person" as that term is defined by 47 U.S.C. § 153(39).

        14.    Defendant Carlos Herrera is a natural person who resides at 1207 13th St. San

Diego, California, 91932.

        15.    Defendant Herrera is a "person" as that term is defined y 47 U.S.C. § 153(39).

                                   FACTUAL BACKGROUND

        16.    Seeking respite from the relentless intrusion of unwanted telemarketing calls,

Plaintiff diligently registered his cellular telephone number, 210-744-XXXX ("Plaintiffs

Number"), with the National Do Not Call Registry on or around Januar 23,2012. This registration

served as a clear and unequivocal expression of Plaintiffs desire to befree from the nuisance and

invasion of privacy caused by unsolicited telemarketing calls.
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       17.      Plaintiff is, and has been at all times relevant to this actitn, the regular and sole user

of his cellular telephone number, 210-744-XXXX.

       18.      Plaintiff uses his cellular phone primarily for personal residential, and household

purposes.

       19.      Plaintiff's Number is designated for residential use, as it is assigned to a consumer

telephone exchange service and is not assigned to a telephone exchnge service designated for

business use.

       20.      Plaintiff has never granted express consent to Defendants, or any entity affiliated

with them, to receive telemarketing calls.

       21.      Beginning on or around June 20, 2024, Plaintiff rece ved multiple telemarketmg

calls from Defendant FundQube to Plaintiff's Number.

       22.      On June 20, 2024, at approximately 11:28 AM CT, P1 intiff answered a call from

FundQube originating from phone number 214-256-4541 in which undQube attempted to sell

Plaintiff a business loan.

        23.     At or around 11:49 AM CT that same day, less than thirty minutes after the

unsolicited phone call, FundQube sent an email from richardfuntqube.com. The email, sent

under the name "Richard William," referred to the prior call and attempted to collect financial data

from Plaintiff for purposes of generating a business loan offer.

        24.     Defendant Herrera was carbon copied to the email carl0s@lnetwrk.io, on the email

that was sent from richardfundqube.com to Plaintiff.

        25.     Upon information and belief, Defendant Herrera has ccess and utilizes the email

carlos@ 1 network. io.

        26.     Defendant Herrera owns and controls FundQube.
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       27.     Defendant Herrera actively directs and overseesi FundQube's day-to-day

operations, including its marketing and telemarketing practices.

       28.     On or around 2:09 PM on June 20, 2024, Plaintiff respoided to the email informing

Defendants, in writing, that Plaintiff was not interested in Defendai4s' product or services and

demanded that Defendants' not contact him again. Specifically, Plaintiff emailed, "Hi, I am not

interested. Do not contact me."

       29.     Despite Plaintiff's express instructions to Defendanti to cease and desist from

further communications, Defendant FundQube at the direction of Defendant Herrera, continued

to call Plaintiff's Number. Said calls originated from various phone numbers, all of which used

NUSO, LLC as the carrier.

       30.     Below is a non-exhaustive list demonstrating the pe1sistent and unlawful calls

FundQube placed, to Plaintiff's phone:

               June 21, 2024, 3:10PM CT                      (779) 359-1618

               June 21, 2024, 4:00 PM CT                     (725) 291-1410

               June 24, 2024, 9:21 AM CT                     (314) 551-1961

               June 24, 2024, 2:55 PM CT                     (470) 22- 9406

               June 25, 2024, 11:09 AM CT                    (864) 66-1772

               June 25, 2024, 2:51 PM CT                     (202) 771-5584

               June 25, 2024, 4:57 PM CT                     (256) 993-1110

               June 26, 2024, 10:11 AM CT                    (702) 978-6970

               June 27, 2024, 12:43 PM CT                    (737) 28-0689

               July 12, 2024 11:42 AM CT                     (385) 83-0489
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       31.     The unauthorized solicitation telephone calls that Plaintiff received from FundQube

have harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, occupied his

phone line, and disturbed the use and enjoyment of his phone.

        32.    In response to these calls, Plaintiff brings forward this cse seeking injunctive relief

requiring the Defendants to cease from violating the TCPA, as well as an award of statutory

damages and costs.

                                             COUNT!
                      Violation of the Telephone Consumer Protection Act
                                      (47 U.S.C. § 227(c)(5))

        33.    Plaintiff realleges and incorporates by reference the illegations in paragraphs 1

through 32.

        34.     The TCPA prohibits any person or entity of initiating ally telephone solicitation to

a residential telephone subscriber who has registered his telephone number on the National

Do Not Call Registry of persons who do not wish to receive telephone solicitations that is

maintained by the Federal Government. 47 U.S.C. § 227(c).

        35.    Acting directly, through agents, employees, and/or as officers of FundQube,

Defendants, called Plaintiff for solicitation purposes despite the fact his number had been on the

Do Not Call Registry.

        36.     Defendants' acts as described above were done with malicious, intentional, willful,

reckless, wanton and negligent disregard for Plaintiff's rights under the law and with the purpose

of harassing Plaintiff.

        37.     The acts and/or omissions of Defendants were done unEairly, unlawfully,

intentionally, and absent bona fide error or good faith mistake.
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        38.    As a result of the above violations of the TCPA, Plaintihas suffered the losses and

damages as set forth above entitling Plaintiff to an award of statutory, actual and treble damages.



                                           COUNT II
                     Violation of the Texas Business and Comm erci*l Code
                              (Tex. Bus. & Corn. Code § 302.101)

        39.     Plaintiff realleges and incorporates by reference the llegations in paragraphs 1

through 32.

        40.     The actions of Defendants, as described herein, constitute "telephone solicitation"

as defined under Tex. Bus. & Corn. Code § 302.00 1(7), as they initiated or caused telephone calls

to be initiated to induce Plaintiff to take out a business loan.

        41.     Upon information and belief, Defendants are not re$istered as telemarketers in

Texas, as required by Tex. Bus. & Corn. Code § 302.101.

        42.     Despite engaging in telemarketing activities within the State of Texas, Defendants

failed to obtain the required registration certificate as mandated by Tex. Bus. & Corn. Code §

302.101(a), demonstrating a clear violation of the Texas Business and Cornrnercial Code and its

consurner protection provisions.

        43.     Tex. Bus. & Corn. Code §302.302(a) provides that a person who violates this

chapter is subject to a civil penalty of no more than $5,000 for each violation. Furthermore, Tex.

Bus. & Corn. Code §302.302(d) provides that the party bringing the action is also entitled to

recover all reasonable cost of prosecuting the action, including court Qosts and investigation costs,

deposition expenses, witness fees, and attorney fees.
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                                           COUNT ifi
                      Violation of the Telephone Consumer ProtectiOn Act
                             Failure to Honor Do-Not-Call Request
                                    (47 C.ER. § 64.1200(d)(6))

         44.   Plaintiff realleges and incorporates by reference the 11egations in Paragraphs

through 32.

         45.   The TCPA and its accompanying regulations impose anaffirmative obligation upon

entities engaged in telemarketing to honor consumer requests to ceas such solicitations. See 47

C.F.R. § 64. 1200(d)(6).

         46.   Specifically, 47 C.F.R. § 64. 1200(d)(6) requires a "person or entity making calls for

telemarketing purposes" to "maintain a record of a consumer's request not to receive further

telemarketing calls" and honor said request "for 5 years from the time the request is made."

         47.   On or around June 20, 2024, Plaintiff expressly instrudted Defendants, in writing,

to cease all telemarketing communications, effectively creating a do-iot-call request pursuant to

47 C.F.R. § 64.1200(d)(6).

         48.   Notwithstanding Plaintiff's clear and unequivocal request that Defendants stop

calling, Defendants chose to ignore Plaintiff's instructions and proceeded to send solicitations to

Plaintiff's Number.

         49.   As a result of Defendants' failure to implement and mairtain procedures reasonably

calculated to honor Plaintiffs do-not-call request, and/or Defendant' intentional and knowing

decision to disregard said request, Plaintiff is entitled to damages in tn amount to be proven at

trial.

                                   DEMAND FOR RELIEF

WHEREFORE, Plaintiff respectflully requests that this Court grant the following relief:
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        A. Award Plaintiff all damages available under the TCPA, including statutory damages of

             $500.00 for each violation of 47 U.S.C. § 227(c), or $1,500.00 for each willful or

             knowing violation.

        B. Award Plaintiff all damages available under Tex. Bus. & corn. code
                                                                                     § 302, including

             statutory damages of $5,000 per violation as provided undqr Tex. Bus. & corn. code
                                                                                                    §

             302.302(a).

        c.   Award Plaintiff actual damages suffered as provided unde 47 u.s.c. §227(c)(5)(A))

             and Tex. Bus. & corn. Code § 302.302 at trial.

       D. Issue a permanent injunction prohibiting Defendants from further calls to Plaintiff in

             violation of the TCPA as provided under 47 U.S.C. § 227(h)(3) and (c)).

       E. All reasonable attorneys' fees, witness fees, court costs
                                                                      anl other litigation costs
             incurred by Plaintiff pursuant to Tex. Bus. & Corn. Code § 02.302(a).

       F. Grant any other relief deemed just and equitable by the Coirt.




                                  DEMAND FOR JURY TRIAL

Please take notice that Plaintiff, Mark Anthony Ortega, demands a j.iry trial in this case.


Dated: July 18, 2024                                 Respectfully subirUtted,

                                                     Mark Anthony Ortega
                                                     Plaintiff. Pro Se




                                                    P0 Box 702099
                                                    San Antonio, TX
                                                    Telephone: (210)
